David Courtney, Petitioner, v. Commissioner of Internal Revenue, RespondentCourtney v. CommissionerDocket No. 58164United States Tax Court28 T.C. 658; 1957 U.S. Tax Ct. LEXIS 158; June 14, 1957, Filed *158 Decision will be entered under Rule 50.  1. The petitioner operated a country grocery store for a part of the period involved and a farm for the other part.  He and his wife, both of whom were not well acquainted with accounting or bookkeeping methods, maintained records of receipts, disbursements, credit sales, and inventories. Petitioner gave certain information from his books and records to an attorney who prepared the returns.  Respondent determined petitioner's records were inadequate to determine his net income and determined petitioner's net income for the years 1949, 1950, 1951, and 1953 by the net worth method.  Held, that the respondent did not exceed the authority granted him in section 41 of the Internal Revenue Code of 1939 in disregarding the petitioner's records and accounting method and that the respondent's net worth statement, after giving effect to oral stipulations and certain other adjustments, is approved.2. The notice of deficiency for the years 1949 and 1950 was mailed more than 3 years and less than 5 years after the returns were due.  Petitioner had unreported net income determined by the net worth method in excess of 25 per cent of gross income *159  stated on the returns.  Held, the 5-year period of limitations under section 275 (c), Internal Revenue Code of 1939, is applicable with respect to 1949 since unreported net income, reduced by all possible excessive deductions, exceeds 25 per cent of gross income stated on the returns.  However, for the year 1950, the unreported net income, when reduced by the amount of possible excessive deductions, is not in excess of 25 per cent of the amount of gross income stated on the returns; therefore, the proceedings for that year are not timely under section 275 (c) of the 1939 Code but are barred under section 275 (a) of the 1939 Code.  H. A. Hurley, 22 T. C. 1256, 1264-1265 (1954), followed; H. Leslie Leas, 23 T. C. 1058 (1955), distinguished.3. Held, that addition to the tax for the year 1953 under section 293 (a), Internal Revenue Code of 1939, is upheld; additions to the tax for the year 1953 under section 294 (a) (1) (A) and (d) (2), Internal Revenue Code of 1939, are also upheld.  Held, further, that additions to the tax under section 293 (b), Internal Revenue Code of 1939, for the years 1949, 1950, and 1951, *160  are improper.  Lee S. Jones, Esq., for the petitioner.Charles R. Hembree, Esq., for the respondent.  Black, Judge.  BLACK *659  The respondent has determined deficiencies in income tax and additions thereto, under the Internal Revenue Code of 1939, 1 as follows:Additions to taxYearDeficiencySec.Sec. 293 (b)Sec. 294Sec. 294293 (a)(d) (1) (A)(d) (2)1949$ 436.24$ 218.121950451.14225.57$ 37.46$ 32.1119511,212.74606.37195392.00$ 4.6032.9823.28Total2,192.124.601,050.0670.4455.39*161  By an amended answer, filed to conform the pleadings to the proof, the respondent claims increased deficiencies in income tax for the taxable years 1949 and 1953 in the respective amounts of $ 623.10 and $ 249.99; and additional, or increased, deficiencies in additions to tax under sections 293 (a) and 294 (d) (1) (A) and (d) (2) in the respective amounts of $ 12.50, $ 21.26, and $ 15 for the year 1953.All of the above amounts have been placed in controversy by the pleadings.*660  The respondent's determination of additions to the tax under section 293 (b) has been conceded by him to be erroneous and is no longer in issue.The deficiencies in income tax are based upon unreported income determined by the net worth method.  The petitioner's primary contention is that his books and records are adequate and correct; that his returns were made in accordance with the books and records; and, therefore, the respondent had no authority to *162  determine his income by the net worth method.  After oral stipulations and concessions, there are only three items in the net worth computation made by the respondent in his determination of the deficiencies which are in dispute.  Petitioner also has pleaded that the statute of limitations bars the assessment for the years 1949 and 1950.  Respondent, in an amended answer, pleads the 5-year statute of limitations provided in section 275 (c) and denies that the statute of limitations has barred the assessment for either 1949 or 1950.FINDINGS OF FACT.Petitioner, David Courtney, is an individual with residence at Ghent, Kentucky.  He filed timely income tax returns for the years 1949, 1950, 1951, and 1953 with the collector or the district director of internal revenue, as the case may be, for the district of Kentucky.Issue 1. Net Worth Method.Petitioner was engaged in the grocery business in the years 1949 and 1950 and for part of the year 1951.  He sold his grocery business in 1951 and purchased a farm which he operated until March 1953, at which time he sold the farm and re-entered the grocery business.  While he was in the grocery business, petitioner had one or two employees*163  working for him.The formal education of petitioner and his wife consisted of attending public school until the seventh and eighth grades, respectively.  For the taxable years involved herein, the petitioner and his wife maintained records of the grocery business.  The records consisted principally of a book which showed daily sales, purchases, expenses, cash receipts and disbursements, and accounts receivable. They also compiled an inventory each year.  When they operated the farm they kept a book showing receipts and expenses.  A bank account was maintained.  The petitioner retained an attorney to prepare his income tax returns.  The attorney made no audit of the petitioner's books and records but prepared the returns from information submitted by the petitioner and his wife.  The petitioner knew nothing about the various methods of accounting or of determining income.*661  The books and records of the petitioner and his method of accounting did not clearly reflect his income.Attached to the deficiency notice was a net worth statement which showed, inter alia, the following:YearTotal taxableReportedUnreportedincome1949$ 5,586.61$ 1,873.08$ 3,713.5319505,417.202,536.162,881.0419518,412.431,170.627,241.8119533,262.702,825.10437.60*164  The Commissioner has not determined any deficiency for the year 1952 and that is why no figures are given for 1952.During the course of the hearing the petitioner agreed that the majority of the items included in the net worth statement were correct.  The parties orally stipulated other changes in the net worth statement.  The respondent made certain concessions in his brief.  Effect will be given to these agreements and concessions in a recomputation under Rule 50.Three items remain in controversy.  Findings regarding them are as follows:(a) New Furniture and Improvements.  The net worth statement shows as an asset "New Furniture &amp; Improvements" in the amount of $ 550 on December 31, 1952, which is agreed to be correct, and in the amount of $ 2,657 on December 31, 1953.  The petitioner's 1953 income tax return and the record do not show the sale or disposition of all or part of the $ 550 of "New Furniture &amp; Improvements" on hand at the beginning of the year 1953.  During the year 1953, the petitioner purchased "New Furniture &amp; Improvements" in the amounts of $ 395 and $ 1,601.56.  The petitioner, therefore, had "New Furniture &amp; Improvements" on December 31, 1953, in the*165  amount of $ 2,546.56 ($ 550 plus $ 395 plus $ 1,601.56).(b) Depreciation Reserve.  The amounts in the depreciation reserve at the end of all of the years involved are agreed upon except that the petitioner contends that the balance in the reserve on December 31, 1951, should be $ 155 in excess of the $ 1,520.75 shown on the net worth statement.During the year the petitioner sold two cows, which had a basis of $ 500, for $ 345.  On his return he deducted $ 155, the difference between the basis and the sales price, as depreciation. The net worth statement on December 31, 1951, does not reflect the two cows in the amount of $ 500 as assets, nor does the depreciation reserve reflect any depreciation taken on the two cows. The amount of $ 1,520.75 is the proper balance in the depreciation reserve on December 31, 1951*662  (c) Living Expenses.  The respondent's net worth statement shows living expenses of $ 2,000 for each of the years 1949, 1950, and 1951, and $ 2,500 for the year 1953.The petitioner and his wife had two daughters who were 13 and 18 years old in 1949.  The oldest daughter finished high school in 1950 and moved away from home.  The other daughter*166  was attending school until 1953, when she passed away.  Petitioner expended $ 1,000 on her funeral. Petitioner paid the funeral expenses, in part, from insurance proceeds of $ 850 which he received.  These proceeds are shown on the net worth statement as a reduction of the increase in net worth.Respondent computed petitioner's net income for 1953 by the net worth method, as follows:Net taxable income (this figure is arrived at by computingpetitioner's increase in net worth for 1953)$ 1,612.70&nbsp;Add: Living expenses2,500.00&nbsp;Less: Insurance proceeds (life insurance on daughter(850.00)Total taxable income3,262.70&nbsp;Petitioner expended about $ 150 per year for life, property, and automobile insurance.  The petitioner lived in his own home in Ghent, Kentucky, a town of about 450 persons, or on his farm during the years in question.  He paid no rent.  Petitioner and his family took very few trips.Petitioner's living expenses for himself and family were $ 1,750 for the year 1949, $ 1,650 for the year 1950, and $ 1,500 for the years 1951 and 1953, respectively.  In addition to these personal living expenses of $ 1,500 for 1953, petitioner had a nondeductible *167  expense of $ 150 incurred in paying the funeral expenses of his daughter for which he was not reimbursed by insurance or otherwise.  See findings above.After giving effect to changes in the respondent's original net worth statement due to the oral stipulations, concessions, and our findings, the corrected net worth statement shows the following:YearTotal taxableReportedUnreportedincome1949$ 8,530.01$ 1,873.08$ 6,656.9319504,631.702,536.162,095.5419512,254.031,170.621,083.4119533,969.612,825.101,144.51Issue 2. Statute of Limitations.Petitioner's 1949 and 1950 income tax returns were filed on January 16, 1950, and January 12, 1951, respectively.  The respondent's notice of deficiency was mailed on March 10, 1955.  The petitioner's 1949 and 1950 income tax returns showed the following: *663 19491950Schedule C (grocery business):Gross receipts (line 1)$ 63,022.39$ 59,987.97&nbsp;Cost of goods sold (line 9)1 60,264.472 55,989.68&nbsp;Gross profit (line 10)2,757.923,998.29&nbsp;Other business deductions (line 22)3 1,884.844 856.62&nbsp;Net profit (line 24)5 873.086 3,131.67&nbsp;Schedule F (farm): 7Gross receipts (item 3)125.00&nbsp;Expenses (item 6)720.51&nbsp;Net loss (item 10)(595.51)Net profit from business5 873.086 2,536.16&nbsp;Net income5 873.086 2,536.16&nbsp;*168 *169  The following schedule relates to the omission of gross income from the returns:19491950Gross income per return$ 2,757.921 $ 4,123.2925 per cent thereof689.481,030.82Unreported net income per net worth statement6,656.932,095.54Deductions per return1,884.842 1,577.13Minimum gross income omitted4,772.09518.41For the year 1949, petitioner omitted gross income in excess of 25 per cent of the amount of gross income stated on the return.Issue 3. Additions to the Tax.(a) Section 293 (a).  The petitioner, not being well acquainted with accounting methods, kept books and records in the manner described under Issue 1.  The Commissioner, in his determination of the deficiencies by use of the net worth method, stated in his deficiency notice, as follows:In the absence of adequate records, your taxable net income has been computed on the basis of increase in net worth during the taxable years, with adjustments for personal and other non-deductible amounts paid.The Commissioner also stated in his deficiency notice:A 5-percent negligency penalty*170  is being asserted for the year 1953, in accordance with the provisions of Section 293 (a) of the Internal Revenue Code.*664  At the hearing of this proceeding the petitioner made no effort to show from his books and records what his net income was for the year 1953.  The deficiency for the year 1953 was due at least in part to negligence or intentional disregard of rules and regulations.(b) Section 294 (d) (1) (A) and (d) (2).  No evidence has been adduced regarding the additions to the tax under this section.(c) Section 293 (b).  No part of the deficiencies for 1949, 1950, or 1951 is due to fraud with intent to evade the tax.  The Commissioner has not determined additions to the tax under section 293 (b) for the year 1953.OPINION.Issue 1. Net Worth Method.The petitioner first contends that his books and records were adequate, that his tax returns were correct, and that the respondent erred in determining his income by the net worth method.The petitioner operated a country grocery store for a part of the period involved and a farm for the other part.  Neither he nor his wife, who helped him, was well acquainted with accounting*171  or bookkeeping methods.  They did, however, keep books and records for the store and the farm, in which they entered their receipts and disbursements. They kept a bank account, recorded credit sales, and compiled inventories. At the end of each year they gave certain information that was recorded on their books and records to their attorney, who would prepare their returns.  The petitioner, his wife, and the attorney all testified that they considered the returns to be correct.Although we believe the petitioner tried to keep records which clearly reflected his income, we cannot, on the record, find that they did so and that the returns in question were correct.  The record is not clear as to the method used in preparing the returns.  The petitioner left it up to the attorney.  On direct examination the attorney testified that the returns were prepared on "the cash receipts and disbursements method." The returns show that inventories were used in determining income.  On cross-examination the attorney testified that he gave consideration to credit sales in computing the income on the returns.  This seemingly conflicting testimony renders it difficult to find which method the petitioner*172  used in determining his income and whether the method which he did use clearly reflected that income.  2*665  No statement made up from the books showing petitioner's net income for any of the taxable years was introduced in evidence.We have here a situation where the Commissioner has determined that petitioner's books and records were inadequate for the purpose of determining petitioner's net income in the taxable years.  Petitioner, on the other hand, contends that respondent had no right to make such a determination because, as a matter of fact, his books and records were adequate. *173  However, if that is true, it was petitioner's burden of proof to show by summaries made from the books and records what his net income was during each of the taxable years.  No such showing was made.  It is not a sufficient showing to rebut the presumptive correctness of respondent's determination that petitioner should testify that his returns were correct or that his attorney who prepared the returns should give testimony to the same effect.  The books and records themselves must be brought before our Court and a satisfactory showing made from them as to what petitioner's net income really was.  Petitioner not having made any such showing as to what his net income was for the taxable years, we have no alternative but to turn to the net worth method, which the Commissioner has used in his determination of the deficiencies, for an answer to the problem.Therefore, it naturally follows that under the circumstances of the instant case, we cannot say that in disregarding the petitioner's books and records the respondent exceeded the authority granted him in section 41.  3 Also, the net income determined by the net worth method is substantially in excess of the net income shown on the*174  returns.  This is cogent evidence of the unreliability of the books and records.  Cf.  Morris Lipsitz, 21 T. C. 917, 931 (1954).The petitioner argues that the respondent's net worth statement is grossly in error and unreliable and, therefore, it should not be used.  We disagree.  After the oral stipulations and concessions only three items, one of which was substantial in amount, remain in controversy.  The three items remaining in controversy are:(a) New Furniture and Improvements.  The net worth statement showed as an asset "New Furniture &amp; Improvements" in the*175  amounts of $ 550 on December 31, 1952, and $ 2,657 on December 31, 1953.  The petitioner agrees that the $ 550 balance on December 31, 1952, is correct.  The petitioner proved that he purchased "New Furniture &amp; Improvements" in the amount of $ 1,996.56 in the year 1953.  He, therefore, contends that the December 31, 1953, balance of $ 2,657 is overstated by $ 660.44 ($ 2,657 minus $ 1,996.56).  The petitioner has not shown, nor *666  does his 1953 return or the record indicate, that all or part of the "New Furniture &amp; Improvements" on hand at December 31, 1952, was disposed of prior to December 31, 1953.  Accordingly, we have found that "New Furniture &amp; Improvements" should be shown on the net worth statement as of December 31, 1953, in the amount of $ 2,546.56 ($ 550 plus $ 1,996.56), rather than $ 2,657, as determined by the respondent.(b) Depreciation Reserve.  The net worth statement shows a depreciation reserve on December 31, 1951, in the amount of $ 1,520.75, which amount does not include any accumulated depreciation for two cows sold during the year 1951.  The petitioner agrees to various amounts of accumulated depreciation comprising that amount.  He contends, *176  however, that during 1951 he sold two cows which had a basis of $ 500, for $ 345; that he deducted the $ 155 difference between the basis and the selling price as depreciation; and that, therefore, the depreciation reserve should also include the $ 155.  Regardless of whether the difference between the basis and the sales price was properly characterized as depreciation, see Estate of B. F. Whitaker, 27 T. C. 399, 405-406 (1956), there is no merit to petitioner's contention.  The cows were not on hand on December 31, 1951, and were not included in the net worth statement as assets on that date.  Therefore, any accumulated depreciation attributable to those assets would not properly be included in the reserve for depreciation account.  The balance in the reserve for depreciation account represents the accumulated depreciation taken on property which is included among the assets.(c) Living Expenses.  The respondent determined the petitioner's nondeductible living expenses to be $ 2,000 for each of the years 1949, 1950, and 1951, and $ 2,500 for the year 1953.  The respondent, in determining living expenses for 1953 as $ 2,500, included therein*177  a nondeductible expenditure of $ 1,000 which petitioner incurred and paid as funeral expenses upon the death of his daughter. However, this funeral expense of $ 1,000 was offset by $ 850 which petitioner collected on an insurance policy as reimbursement for funeral expenses.  Our Findings of Fact show how this item was treated by respondent in his net worth computation.The petitioner contends that his nondeductible living expenses were about $ 1,300 a year.  After examining the record and giving consideration to the petitioner's mode and manner of living, to the number of dependents, to the fact that he owned a house and/or a farm and did not pay rent, and to the specific expenditures to which he testified, we have concluded that petitioner's living expenses for himself and family were not as great as the respondent has determined in his net worth computation. We have made findings of fact, however, that *667  these living expenses were greater than the $ 1,300 which petitioner claimed in his testimony for each of the taxable years.In 1949, both of petitioner's daughters were at home and in school.  After taking all the facts into consideration we have made a finding that *178  petitioner's living expenses for 1949 were $ 1,750.In 1950, petitioner's oldest daughter graduated from school and after graduation moved to Louisville, Kentucky, where she was employed for the remainder of the year, earning her own living.  We have, therefore, made a finding that petitioner's living expenses for 1950 were $ 1,650.In 1951 and 1953, only one of petitioner's daughters was living at home.  The other daughter was employed in both of those years in Louisville and was earning her own support.  We have, therefore, made a finding that petitioner's living expenses for 1951 and 1953 were $ 1,500 for each year.  However, in the year 1953, petitioner incurred and paid a nondeductible expense of $ 1,000 on account of the death of his daughter. He was reimbursed for $ 850 of this by an insurance company.  After giving effect to this reimbursement it will be seen that petitioner had a nondeductible expense of $ 150 on account of the death of his daughter. This, added to the $ 1,500 nondeductible living expense, makes $ 1,650.The living expense figures given above should be used in a computation under Rule 50.Issue 2. Statute of Limitations.Petitioner's returns for the *179  years 1949 and 1950 were filed on January 16, 1950, and January 12, 1951, respectively.  However, these returns were not due until March 15, 1950, and March 15, 1951, respectively, section 53 (a); and, for the purpose of applying section 275 (c), the returns are considered as filed on the last day they were due.  Sec. 275 (f).  Accordingly, the 5-year statute of limitations, if it is applicable to the instant case, extended to March 15, 1955, for the year 1949, and to March 15, 1956, for the year 1950.  The notice of deficiency setting forth the deficiencies for the years 1949 and 1950 was mailed to petitioner on March 10, 1955.  Consequently, it will be seen that the respondent's notice of deficiency was mailed more than 3 years and less than 5 years after the returns for 1949 and 1950 were due.  The petitioner, relying on section 275 (a)4 contends that the Commissioner's action with respect to those years is barred by the statute of limitations.*180 *668 The respondent contends that the 5-year period of limitations provided for in section 275 (c)5 is applicable.  Under section 275 (c) the respondent has the burden of proving that the petitioner omitted from gross income an amount in excess of 25 per cent of the amount of gross income stated in the return.  C. A. Reis, 1 T. C. 9 (1942).The record shows that for the years 1949 and 1950, the amounts of unreported net income are in excess of 25 per cent of the gross income stated in the returns.  In order to equate the unreported net income to omitted gross income, it is incumbent upon the respondent to show that*181  the unreported net income results from omitted gross income rather than from excessive deductions.  H. A. Hurley, 22 T. C. 1256, 1264-1265 (1954), affirmed on another point (C. A. 6, 1956) 233 F.2d 177"&gt;233 F. 2d 177. The amount of deductions which petitioner took on his returns for the respective years 1949 and 1950 is shown in our Findings of Fact.  He does not claim that he should have reported any additional deductions to those claimed on his returns.In the Hurley case, supra, the Commissioner used the net worth method in computing the taxpayer's net income. The taxpayer pleaded the 3-year statute of limitations as a bar to the assessment of the deficiency for the year 1947.  The Commissioner, in turn, pleaded that the 5-year statute of limitations provided by section 275 (c) was applicable because the taxpayer had omitted in excess of 25 per cent of his gross income reported on his return.  In holding that the Commissioner had not met his burden of proof to show that such was the case, we said:A computation by the net worth method could result in increased net income by reason of deductions having no factual basis.  The probability*182  that some part of the increased net income here is attributable to that factor is apparent not only from the nature of petitioner's business but the large amounts he claimed for deductions in computing net income. [Our Findings of Fact show that for the year 1947, the taxpayer claimed "Other Business Deductions" totaling $ 65,432.57.  He had reported gross income of $ 80,513.50 on his return.] The theory advanced by respondent ignores that probability completely and requires an inference, lacking a reasonable basis, that all of the additional net income resulted from omissions of gross income.Applying the rationale of the Hurley case, supra, to the facts of the instant case, we think the 5-year statute of limitations provided in section 275 (c) is applicable and the assessment of the deficiency determined for 1949 is not barred.  Assessment of the deficiency determined for the year 1950 is barred because the Commissioner has not borne his burden of proof to show that section 275 (c) is applicable under the facts.*669  We have set forth in our Findings of Fact the unreported net income for 1949, after reducing it by the total amount of deductions taken by petitioner*183  on his return.  This leaves a figure of $ 4,772.09, which it seems to us is the minimum amount of gross income which petitioner omitted from his 1949 return.  This exceeds 25 per cent of the gross income stated in the return.  This unreported net income, it seems to us, could only be from an omission of gross income. The same is not true for 1950, since the minimum amount of gross income omitted, using the same formula as for 1949, does not exceed 25 per cent of the amount of gross income shown on the return.  See Findings of Fact, supra.Accordingly, we hold that the proceeding for the year 1949 is not barred by the statute of limitations as provided in section 275 (c), and that the proceeding for the year 1950 is barred as provided in section 275 (a).What we have held here, we think, is not in conflict with our decision in H. Leslie Leas, 23 T. C. 1058 (1955), a case relied upon by respondent in his brief.  The Leas case was not a case where the Commissioner had used the net worth method in determining the deficiencies.  In that case the taxpayer pleaded the statute of limitations as to the years 1947 and 1948, and the Commissioner relied*184  upon the 5-year statute of limitations provided by section 275 (c).  On the statute of limitations issue we made specific findings that "petitioner omitted from his reported adjusted gross income for each year $ 19,550.97 and $ 9,667.19, respectively," and we held that these amounts were in excess of 25 per centum of the gross income reported in the returns.  In so holding, we distinguished the Hurley case, supra, as follows (p. 1064):It should be noted that H. A. Hurley, 22 T. C. 1256 (1954), is not applicable to the instant case.  In that case respondent established that there was an understatement of net income by the net worth method.  Under that method, an understatement of net income could have resulted from overstatement of deductions, as well as from an omission of gross income in the return.  Under the circumstances of that case, we held, in effect, that proof of understated net income did not establish per se an omission from gross income within the meaning of section 275 (c).  In the instant case, however, the record clearly establishes an understatement of gross income attributable to unreported receipts in excess of 25 per centum*185  of the gross income reported in each return.  Thus, the principle of the Hurley case is not here applicable.Issue 3. Additions to the Tax.(a) The respondent has determined an addition to the tax as provided in section 293 (a) for the year 1953.  The burden of proving that the imposition of this addition is erroneous rests upon petitioner. J. T. S. Brown's Son Co., 10 T. C. 840, 851 (1948); Gibbs &amp; Hudson, *670 ., 35 B. T. A. 205, 211 (1936). Section 293 (a)provides for the assessing of an addition to tax totaling 5 per cent of a deficiency if any part of the deficiency "is due to negligence, or intentional disregard of rules and regulations but without intent to defraud." In our Findings of Fact under this issue, we made the following finding: "The deficiency for the year 1953 was due at least in part to negligence or intentional disregard of rules and regulations." The above finding disposes of the issue as to the addition to tax under section 293 (a) against petitioner.  Cf.  Hyman B. Stone, 22 T.C. 893"&gt;22 T. C. 893, 906 (1954). The amount of this addition to tax will be recomputed*186  under Rule 50.(b) The respondent also determined additions to the tax as provided in section 294 (d) (1) (A) for the year 1953.  The burden of proving that the failure to make and file a declaration of estimated tax was due to reasonable cause and not to willful neglect is on the petitioner.  Harry Hartley, 23 T. C. 353, 360 (1954). No evidence regarding this matter has been introduced; therefore, the respondent's determination is upheld.  The amount of the addition under section 294 (d) (1) (A), along with the amount of the addition under section 294 (d) (2), can be recomputed under Rule 50.(c) Respondent concedes that the additions to the tax which he imposed under section 293 (b) were erroneous.  Also, based on the evidence, we have made a finding that no part of the deficiencies for 1949, 1950, and 1951 is due to fraud with intent to evade the tax.  Respondent is reversed as to the additions to tax under section 293 (b).Decision will be entered under Rule 50.  Footnotes1. All section references are to the Internal Revenue Code of 1939, as amended.↩1. Includes the amount of $ 2,392.92 for items denominated supplies, repairs, and miscellaneous.  No question has been raised and no evidence has been introduced regarding the nature of these items and whether they are properly included in cost of goods sold.↩2. Includes the amounts of $ 1,152.98, $ 492.21, and $ 1,998.41 for items denominated labor, materials, and supplies, and utilities, freight, advertising, and delivery, respectively.  No question has been raised and no evidence has been introduced regarding the nature of these items and whether they are properly included in cost of goods sold.↩3. Includes items denominated salaries, interest, taxes, and depreciation.↩4. Includes items denominated taxes, depreciation, salaries, telephone, and insurance.↩5. Shown on return, $ 1,873.08.  Mistake was apparently unimportant since petitioner had personal exemption plus three dependents (wife plus two children), and paid no tax for that year.↩6. Correct amount is $ 10 more.  Uncorrected arithmetical error on return.↩7. Farm was purchased in 1950 but petitioner did not take possession until 1951.  Receipts were for baling hay and expenses were for labor, materials, and supplies.↩1. $ 3,998.29 (grocery) plus $ 125 (farm).↩2. $ 856.62 (grocery) plus $ 720.51 (farm).↩2. The discrepancies in this case may partially be the result of fluctuations in accounts receivable. As we stated previously, the record is not clear as to whether accounts receivable were used in determining income.  Since the petitioner was in a business in which the use of inventories was necessary for a determination of income, accounts receivable also must be used in order to clearly reflect income.  Regs. 118, sec. 39.41-2.↩3. SEC. 41. GENERAL RULE.The net income shall be computed * * * in accordance with the method of accounting regularly employed in keeping the books of such taxpayer; but if no such method of accounting has been employed, or if the method employed does not clearly reflect the income, the computation shall be made in accordance with such method as in the opinion of the Commissioner does clearly reflect the income. * * *↩4. SEC. 275. PERIOD OF LIMITATION UPON ASSESSMENT AND COLLECTION.(a) General Rule.  -- The amount of income taxes imposed by this chapter shall be assessed within three years after the return was filed, and no proceeding in court without assessment for the collection of such taxes shall be begun after the expiration of such period.↩5. (c) Omission From Gross Income. -- If the taxpayer omits from gross income an amount properly includible therein which is in excess of 25 per centum of the amount of gross income stated in the return, the tax may be assessed, or a proceeding in court for the collection of such tax may be begun without assessment, at any time within 5 years after the return was filed.↩